        Case: 1:19-cv-07056 Document #: 1 Filed: 10/27/19 Page 1 of 10 PageID #:1




                               UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


 TRACEY L. MASSEY, on behalf of
 himself and all others similarly situated,            CIVIL COMPLAINT – CLASS
                                                               ACTION
              Plaintiff,

 v.                                                      CASE NO. 1:19-cv-07056

 SUNPATH, LTD.,
                                                       DEMAND FOR JURY TRIAL
              Defendant.


                                 COMPLAINT – CLASS ACTION

         NOW comes TRACEY L. MASSEY (“Plaintiff”), by and through his attorneys, Sulaiman

Law Group, Ltd. (“Sulaiman”), on behalf of himself and all others similarly situated, complaining

as to the conduct of SUNPATH, LTD. (“Defendant”), as follows:

                                     NATURE OF THE ACTION

      1. Plaintiff brings this action on behalf or himself and numerous other individuals against

Defendant pursuant to the Telephone Consumer Protection Act (“TCPA”) under 47 U.S.C. §227

et seq. for Defendant’s unlawful conduct.

      2. Plaintiff brings this action, on his own behalf and in his individual capacity, against

Defendant pursuant to the Illinois Consumer Fraud and Deceptive Business Practices Act

(“ICFA”) under 815 ILCS 505/1 et seq. for Defendant's unlawful practices.

                                    JURISDICTION AND VENUE

      3. This action arises under and is brought pursuant to the TCPA. Subject matter jurisdiction

is conferred upon this Court by 47 U.S.C §227, 28 U.S.C. §§1331 and 1337, as the action arises




                                                 1
         Case: 1:19-cv-07056 Document #: 1 Filed: 10/27/19 Page 2 of 10 PageID #:1




under the laws of the United States. Supplemental jurisdiction exists for Plaintiff’s individual state

law claim pursuant to 28 U.S.C. §1367.

      4. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

in the Northern District of Illinois and a substantial portion the events or omissions giving rise to

the claims occurred within the Northern District of Illinois.

                                              PARTIES

      5. Plaintiff is a natural person over 18 years-of-age residing in Cook County, Illinois, which

is located within the Northern District of Illinois.

      6. Plaintiff is a “person” as defined by 47 U.S.C. §153(39).

      7. Defendant provides extended car warranties to consumers, advertising that it “provides

outstanding coverage at a competitive price.”1 Defendant is a limited company organized under

the laws of the State of Delaware with its principal place of business located at 50 Braintree Hill

Office, Suite 310, Braintree, Massachusetts 02184. Defendant regularly solicits business from

consumers throughout the United States, including from consumers in the State of Illinois.

      8. Defendant is a “person” as defined by 47 U.S.C. §153(39).

      9. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all

times relevant to the instant action.

                                FACTS SUPPORTING CAUSES OF ACTION

      10. Around the summer of 2018, Plaintiff began receiving calls to his cellular phone, (773)

XXX-8072, from Defendant.




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    http://gosunpath.com/

                                                   2
        Case: 1:19-cv-07056 Document #: 1 Filed: 10/27/19 Page 3 of 10 PageID #:1




   11. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of the cellular phone ending in -8072. Plaintiff is and has always been financially

responsible for the cellular phone and its services.

   12. Defendant has used several phone numbers when placing calls to Plaintiff’s cellular phone,

including but not limited to: (773) 920-7146, (773) 920-2970, (773) 920-5761, (773) 920-3251,

(773) 920-6042, (773) 920-2875 (773) 920-6762, (773) 920-6802, (773) 920-5936, and (773) 920-

1516.

   13. Upon information and belief, the above-referenced phone numbers are regularly utilized

by Defendant during its debt solicitation activities.

   14. During answered calls, Plaintiff had to endure a noticeable pause, lasting several seconds

in length, and had to say “hello” several times before being connected to a live representative.

   15. Plaintiff has never had any business relationship with Defendant nor has he ever given it

permission to call his cellular phone, so Plaintiff was confused as to why Defendant was contacting

him.

   16. Upon speaking with one of Defendant’s representatives, Plaintiff was informed that

Defendant was attempting to solicit him to purchase a warranty.

   17. Defendant’s relentless solicitation campaign caused Plaintiff to demand that Defendant

cease contacting him.

   18. Despite Plaintiff’s efforts, Defendant continued to regularly call his cellular phone.

   19. Defendant has contacted Plaintiff at least 100 times after his demands that Defendant stop

contacting his cellular phone.

   20. Frustrated over the persistent calls, Plaintiff spoke with Sulaiman regarding his rights

resulting in costs and expenses.



                                                  3
      Case: 1:19-cv-07056 Document #: 1 Filed: 10/27/19 Page 4 of 10 PageID #:1




   21. Plaintiff has been unfairly harassed by Defendant's actions.

   22. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not

limited to, invasion of privacy, aggravation that accompanies solicitation telephone calls,

emotional distress, increased risk of personal injury resulting from the distraction caused by the

never-ending calls, increased usage of his telephone services, loss of cellular phone capacity,

diminished cellular phone functionality, decreased battery life on his cellular phone, and

diminished space for data storage on his cellular phone.

   23. Upon information and belief, Defendant’s conduct directed towards Plaintiff is indicative

of a pattern and practice wherein Defendant continues to call consumers attempting to solicit

business from them even after such consumers have requested that such calls stop.

   24. All of Defendant’s phone calls to Plaintiff’s cellular phone number occurred within the

four years preceding the date of the filing of the Complaint in this matter.

                                  CLASS ACTION ALLEGATIONS

   25. Plaintiff brings this action on behalf of himself and others similarly situated against

Defendant for its violations of the TCPA.

   26. Plaintiff brings this action against Defendant, both on his own behalf and as a class action

on behalf of the following class, hereinafter referred to as the “Automatic Telephone Dialing

System Class”:

               All persons residing in the State of Illinois to whom Defendant
               placed solicitation calls, to such persons’ cellular phones, using an
               automatic telephone dialing system, absent the requisite prior
               express consent for such calls, within four years preceding the filing
               of this Complaint through the date of class certification.

   27. This action is properly maintainable as a class action under Federal Rule of Civil

Procedure 23(a).



                                                 4
      Case: 1:19-cv-07056 Document #: 1 Filed: 10/27/19 Page 5 of 10 PageID #:1




   28. Upon information and belief, each respective Class outlined above consists of hundreds

or more persons throughout the State of Illinois such that joinder of the respective Class members

is impracticable.

   29. There are questions of law and fact that are common to the respective Class members that

relate to Defendant’s violations of the TCPA, particularly because the questions of law and fact

are based on a common course of conduct by Defendant as it relates to the respective Class

members.

   30. Plaintiff and the members of the respective Classes were harmed by the acts of Defendant

in, inter alia, the following ways: Defendant illegally contacted Plaintiff and putative Class

members via their cellular phones thereby causing Plaintiff and the respective Class members to

incur certain charges or reduced telephone time for which Plaintiff and Class members had

previously paid by having to retrieve or administer messages left by Defendant during those illegal

calls, and invading the privacy of said Plaintiff and respective Class members.

   31. The claims of Plaintiff are typical of the claims of the proposed Class because they are

based on the same legal theories and course of conduct, and Plaintiff has no interests that are

antagonistic to the interests of the respective Class members.

   32. Plaintiff is an adequate representative of the respective Classes and has retained competent

legal counsel experienced in class actions and complex litigation.

   33. The questions of law and fact common to the Automatic Telephone Dialing System Class

predominate over any questions affecting only individual Class members, particularly because the

focus of the litigation will be on the conduct of Defendant. The predominant questions of law and

fact as they relate to the Automatic Telephone Dialing System Class include, but are not limited

to: (i) whether Defendant’s phone system used to place the calls to Plaintiff and putative Class



                                                 5
      Case: 1:19-cv-07056 Document #: 1 Filed: 10/27/19 Page 6 of 10 PageID #:1




members were made with a system constituting an automatic telephone dialing system under the

TCPA; (ii) whether Plaintiff and putative Class members provided prior express consent to receive

phone calls from Defendant to their cellular phones which were made through an automatic

telephone dialing system; (iii) whether Plaintiff and other members of the Class revoked any

hypothetical prior express consent Defendant may have had to place telephone calls to their cellular

phones utilizing an automatic telephone dialing system; (iv) whether Defendant violated the TCPA

by placing unconsented calls to Plaintiff’s and Class members’ cellular phones utilizing an

automatic telephone dialing system; and (v) the type and amount of relief to which the Plaintiff

and Class members are entitled.

   34. A class action is superior to other available methods for the fair and efficient adjudication

of this controversy, as the pursuit of hundreds of individual lawsuits would cause a strain on

judicial resources and could result in inconsistent or varying adjudications, yet each respective

Class member would be required to prove an identical set of facts in order to recover damages.

         COUNT I – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
     PLAINTIFF INDIVIDUALLY AND ON BEHALF OF THE AUTOMATIC DIALING SYSTEM CLASS

   35.   Plaintiff repeats and realleges paragraphs 1 through 34 as though fully set forth herein.

   36.   The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their

cellular phone using an automatic telephone dialing system (“ATDS”) or prerecorded messages

without their consent. The TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment

which has the capacity...to store or produce telephone numbers to be called, using a random or

sequential number generator; and to dial such numbers.”

   37. Defendant’s contacts made towards the Automatic Telephone Dialing System Class were

made with a system defined by the TCPA as an ATDS. Defendant’s use of an ATDS in relation to

this Class is evinced by the significant pause, lasting several seconds in length, which Plaintiff

                                                 6
      Case: 1:19-cv-07056 Document #: 1 Filed: 10/27/19 Page 7 of 10 PageID #:1




experienced on answered calls from Defendant. Plaintiff’s having to say “hello” repeatedly prior

to a live person getting on the line further demonstrates Defendant’s use of an ATDS. Additionally,

Defendant’s continued contacts with Plaintiff after he demanded that the phone calls stop further

demonstrates Defendant’s use of an ATDS. Moreover, the nature and frequency of Defendant’s

contacts point to the involvement of an ATDS.

   38. Defendant violated the TCPA by placing repeated and persistent phone calls to Plaintiff’s

and the respective Class members’ cellular phones using an ATDS without their consent. Any

consent that Defendant may have had to contact Plaintiff and the respective Class members

through means of an ATDS was specifically revoked by their demands that Defendant cease

contacting them.

   39. The calls placed by Defendant to Plaintiff and the respective Class members were

regarding solicitation activity and not for emergency purposes as defined by the TCPA under 47

U.S.C. §227(b)(1)(A)(i).

   40. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff

and the respective Class members for at least $500.00 per call. Moreover, Defendant’s willful and

knowing violations of the TCPA should trigger this Honorable Court’s ability to triple the damages

to which Plaintiff and the respective Class members are otherwise entitled to under 47 U.S.C. §

227(b)(3)(C).

   WHEREFORE, Plaintiff, TRACEY L. MASSEY, respectfully requests that this Honorable

Court grant the following:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Certification of the respective Classes requested above and appointment of the Plaintiff as
      Class Representative and of his counsel as Class Counsel for the respective Classes;



                                                7
      Case: 1:19-cv-07056 Document #: 1 Filed: 10/27/19 Page 8 of 10 PageID #:1




    c. Awarding damages of at least $500.00 per phone call and treble damages pursuant to 47
       U.S.C. §§ 227(b)(3)(B)&(C);

    d. Awarding Plaintiff costs and reasonable attorney fees;

    e. Enjoining Defendant from further contacting Plaintiff; and

    f. Awarding any other relief as this Honorable Court deems just and appropriate.


                         COUNT II – VIOLATIONS OF THE ILLINOIS
                 CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT
                       PLAINTIFF INDIVIDUALLY AGAINST DEFENDANT

    41. Plaintiff restates and realleges paragraphs 1 through 40 as though fully set forth herein.

    42. Plaintiff is a “person” and “consumer” as defined by 815 ILCS 505/1(c) and (e) of the

ICFA.

    43. Defendant’s solicitation calls to Plaintiff are “trade” and “commerce” as defined by 815

ILCS 505/1(f) of the ICFA.

    44. The ICFA states:

                “Unfair methods of competition and unfair or deceptive acts or
                practices, including but not limited to the use or employment of any
                deception, fraud, false pretense, false promise, misrepresentation or
                the concealment, suppression or omission of any material fact, with
                intent that others rely upon the concealment, suppression or
                omission of such material fact . . . in the conduct of any trade or
                commerce are hereby declared unlawful whether any person has in
                fact been misled, deceived or damaged thereby.” 815 ILCS 505/2.

    45. Defendant violated 815 ILCS 505/2 by engaging in an unfair and deceptive act or practice

in contacting Plaintiff. It was unfair for Defendant to relentlessly contact Plaintiff through means

of an ATDS after he requested that it no longer do so. Plaintiff notified Defendant that he was not

interested in its services and to stop calling.

    46. In defiance of the law, Defendant continued its unfair conduct of harassing Plaintiff.

Defendant ignored Plaintiff’s numerous requests and unfairly continued to systematically contact

                                                  8
      Case: 1:19-cv-07056 Document #: 1 Filed: 10/27/19 Page 9 of 10 PageID #:1




him at least 100 times thereafter. Following its characteristic behavior in placing voluminous

solicitation phone calls to consumers, the calls here were placed with the hope that Plaintiff would

succumb to its harassing behavior and ultimately purchase a warranty from Defendant.

   47. Defendant has also placed multiple calls to Plaintiff’s cellular phone on the same day, with

such calls often coming in within seconds of one another, even after Defendant was told to stop

calling. Placing multiple calls a day on a frequent basis is extremely harassing behavior that

amounts to an unfair practice, especially after being told by Plaintiff that he does not wish to be

contacted.

   48. The ICFA was designed to protect consumers, such as Plaintiff, from the exact behavior

committed by Defendant.

   49. The ICFA further states:

               “Any person who suffers actual damage as a result of a violation of
               this Act committed by any other person may bring an action against
               such person. The court, in its discretion may award actual economic
               damages or any other relief which the court deems proper.” 815
               ILCS 505/10a.

   50. As pled in paragraphs 20 through 22, Plaintiff has suffered actual damages as a result of

Defendant’s unlawful solicitation practices. As such, Plaintiff is entitled to relief pursuant to 815

ILCS 505/10a. An award of punitive damages is appropriate because Defendant’s conduct was

outrageous, willful and wanton, and showed a reckless disregard for the rights of Plaintiff. Plaintiff

told Defendant a number of times that he was not interested in its services and to stop calling, yet,

he was still bombarded with solicitation phone calls. Upon information and belief, Defendant

regularly engages in the above described behavior against consumers in Illinois and for public

policy reasons should be penalized.




                                                  9
     Case: 1:19-cv-07056 Document #: 1 Filed: 10/27/19 Page 10 of 10 PageID #:1




   WHEREFORE, Plaintiff, TRACEY L. MASSEY, respectfully requests that this Honorable

Court enter judgment in his favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff actual and punitive damages, in an amount to be determined at trial,
      for the underlying violations;

   c. Awarding Plaintiff costs and reasonable attorney fees;

   d. Enjoining Defendant from further contacting Plaintiff; and

   e. Awarding any other relief as this Honorable Court deems just and appropriate.

Dated: October 27, 2019                              Respectfully submitted,

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                                                10
